9 F.3d 978
    NOTICE: Federal Circuit Local Rule 47.6(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.Sarah R. AUGUSTUS, Claimant-Appellant,v.Jesse BROWN, Secretary of Veterans Affairs, Respondent-Appellee.
    No. 93-7075.
    United States Court of Appeals, Federal Circuit.
    Aug. 26, 1993.
    
      Before LOURIE, Circuit Judge, BENNETT, Senior Circuit Judge, and RADER, Circuit Judge.
      ON MOTION
      LOURIE, Circuit Judge.
    
    ORDER
    
      1
      The Secretary of Veterans Affairs moves to waive Fed.Cir.R. 27(e) and to dismiss Sarah R. Augustus' appeal.  Augustus moves for leave to file her response one day out of time with response attached.*
    
    
      2
      Augustus seeks review of an order of the Court of Veterans Appeals affirming the Board of Veterans Appeals decision denying Augustus entitlement to an extension of time of her eligibility for receiving educational assistance as a dependent of a veteran.  Augustus challenges only factual determinations or the application of a law or regulation to her claim, or raises a legal question that does not contest the validity of a statute or a regulation, or the interpretation of a constitutional or statutory provision or a regulation.  No issue is raised that falls within the limited jurisdiction of this court under 38 U.S.C. Secs. 7292(c), (d)(1)-(2) (Supp.  III 1991).  See Livingston v. Derwinski, 959 F.2d 224 (Fed.Cir.1992).
    
    
      3
      Accordingly,
    
    IT IS ORDERED THAT:
    
      4
      (1) The Secretary's motion to waive Fed.Cir.R. 27(e) is granted.
    
    
      5
      (2) The Secretary's motion to dismiss is granted.
    
    
      6
      (3) Augustus's motion for leave to file her response one day out of time is granted.
    
    
      7
      (4) Each side shall bear its own costs.
    
    
      
        *
         We are treating Augustus's response, received one day late, as a motion for leave to file the response out of time
      
    
    